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                                 Appendix A to the Declaration of E. Evans Wohlforth, Esq.


Document     Basis for Sealing           Clearly Defined and         Why a Less Restrictive           Any Prior       Party in
Title/ECF                                Serious Injury that         Alternative to the Re-           Order Sealing   Opposition to
No.                                      Would Result if the Re-     lief Sought is Not Avail-        the Same        Sealing, if
                                         lief is Not Granted         able                             Materials in    any, and Basis
                                                                                                      the Pending
                                                                                                      Action
Letter       Letter motion contains:     If relief is not granted,   A redacted, public ver-          No.             No objection
dated        (1) references to Save On   SaveOn would be at a        sion of the Letter is be-
August 12,   SP, LLC’s (“SaveOn”)        competitive disadvantage    ing filed. It is believed
2024 [ECF    early business strategy;    should its proprietary      that no less restrictive al-
No. 350      (2) descriptions of         non-public business in-     ternative is available to
             internal SaveOn             formation and strategy      prevent the disclosure of
             documents produced          be disclosed to competi-    SaveOn’s proprietary
             during discovery            tors and other market       business information.
             discussing SaveOn’s         participants.
             early strategic decisions
             and operations; and (3)
             direct quotes from email
             exchanges between
             attorneys regarding
             SaveOn’s business
             operations.
Exhibit 4    Exhibit 4 is an email       If relief is not granted,   It is believed that no less                      No objection
to letter    thread between SaveOn       SaveOn would be at a        restrictive alternative is
dated        employees and ESI           competitive disadvantage    available to prevent the
August 12,   regarding                   should its proprietary      disclosure of SaveOn’s
2024 [ECF    communications about        non-public business in-     proprietary business in-
No. 350      SaveOn’s services with a    formation and strategy      formation.
             client.
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                                         be disclosed to competi-
                                         tors and other market
                                         participants.

Exhibit 5    Exhibit 5 is an email       If relief is not granted,   It is believed that no less                     No objection
to letter    thread between SaveOn       SaveOn would be at a        restrictive alternative is
dated        employees and ESI           competitive disadvantage    available to prevent the
August 12,   regarding SaveOn’s          should its proprietary      disclosure of SaveOn’s
2024 [ECF    business projections and    non-public business in-     proprietary business in-
No. 350      communications with a       formation and strategy      formation.
             prospective client.         be disclosed to competi-
                                         tors and other market
                                         participants.

Exhibit 6    Exhibit 6 is an email       If relief is not granted,   It is believed that no less                     No objection
to letter    thread between SaveOn,      SaveOn would be at a        restrictive alternative is
dated        ESI and Accredo             competitive disadvantage    available to prevent the
August 12,   personnel regarding a       should its proprietary      disclosure of SaveOn’s
2024 [ECF    perceived competitor and    non-public business in-     proprietary business in-
No. 350      SaveOn’s strategy in        formation and strategy      formation.
             response to that            be disclosed to competi-
             competitor.                 tors and other market
                                         participants.

Exhibit 7    Exhibit 7 is letter from    If relief is not granted,   A redacted, public ver-                         No objection
to letter    Johnson & Johnson           SaveOn would be at a        sion of the Letter is be-
dated        Health Care Systems,        competitive disadvantage    ing filed. It is believed
August 12,   Inc.’s (“J&J”) counsel to   should its proprietary      that no less restrictive al-
2024 [ECF    SaveOn’s counsel that       non-public business in-     ternative is available to
No. 350      quotes directly from        formation and strategy      prevent the disclosure of
             SaveOn documents that       be disclosed to competi-    SaveOn’s proprietary
             discuss SaveOn              tors and other market       business information.
             operations with clients     participants.

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             and SaveOn’s
             relationship with ESI.
Exhibit 8    Exhibit 8 is an email        If relief is not granted,   A redacted, public ver-                         No objection
to letter    thread between J&J’s         SaveOn would be at a        sion of the Letter is be-
dated        counsel and SaveOn’s         competitive disadvantage    ing filed. It is believed
August 12,   counsel in which             should its proprietary      that no less restrictive al-
2024 [ECF    SaveOn’s counsel             non-public business in-     ternative is available to
No. 350      provides confidential        formation and strategy      prevent the disclosure of
             information regarding        be disclosed to competi-    SaveOn’s proprietary
             SaveOn’s business            tors and other market       business information.
             operations and strategies.   participants.

Exhibit 11   Exhibit 11 is an internal    If relief is not granted,   It is believed that no less                     No objection
to letter    SaveOn document              SaveOn would be at a        restrictive alternative is
dated        describing SaveOn’s          competitive disadvantage    available to prevent the
August 12,   proposed business            should its proprietary      disclosure of SaveOn’s
2024 [ECF    operations.                  non-public business in-     proprietary business in-
No. 350                                   formation and strategy      formation.
                                          be disclosed to competi-
                                          tors and other market
                                          participants.

Exhibit 12   Exhibit 12 is a              If relief is not granted,   It is believed that no less                     No objection
to letter    PowerPoint presentation      SaveOn would be at a        restrictive alternative is
dated        describing SaveOn’s          competitive disadvantage    available to prevent the
August 12,   services and offerings for   should its proprietary      disclosure of SaveOn’s
2024 [ECF    clients.                     non-public business in-     proprietary business in-
No. 350                                   formation and strategy      formation.
                                          be disclosed to competi-
                                          tors and other market
                                          participants.



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Exhibit 13   Exhibit 13 is an email       If relief is not granted,   It is believed that no less                    No objection
to letter    between Claudia Dunbar       SaveOn would be at a        restrictive alternative is
dated        and Jill Stearns attaching   competitive disadvantage    available to prevent the
August 12,   a document describing        should its proprietary      disclosure of SaveOn’s
2024 [ECF    SaveOn’s business            non-public business in-     proprietary business in-
No. 350      operations and action        formation and strategy      formation.
             items.                       be disclosed to competi-
                                          tors and other market
                                          participants.

Exhibit 14   Exhibit 14 is an email       If relief is not granted,   It is believed that no less                    No objection
to letter    from Claudia Dunbar to       SaveOn would be at a        restrictive alternative is
dated        Gary Meyn discussing         competitive disadvantage    available to prevent the
August 12,   SaveOn’s marketing           should its proprietary      disclosure of SaveOn’s
2024 [ECF    strategy and attaching a     non-public business in-     proprietary business in-
No. 350      document identifying a       formation and strategy      formation.
             SaveOn client.               be disclosed to competi-
                                          tors and other market
                                          participants.

Exhibit 15   Exhibit 15 is a              If relief is not granted,   It is believed that no less                    No objection
to letter    PowerPoint presentation      SaveOn would be at a        restrictive alternative is
dated        regarding SaveOn’s           competitive disadvantage    available to prevent the
August 12,   launch strategy,             should its proprietary      disclosure of SaveOn’s
2024 [ECF    operations, and              non-public business in-     proprietary business in-
No. 350      personnel.                   formation and strategy      formation.
                                          be disclosed to competi-
                                          tors and other market
                                          participants.

Exhibit 16   Exhibit 16 is an agenda      If relief is not granted, It is believed that no less                      No objection
to letter    listing topics for           SaveOn would be at a      restrictive alternative is
dated        discussion between           competitive disadvantage available to prevent the

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August 12,   senior SaveOn                should its proprietary      disclosure of SaveOn’s
2024 [ECF    personnel.                   non-public business in-     proprietary business in-
No. 350                                   formation and strategy      formation.
                                          be disclosed to competi-
                                          tors and other market
                                          participants.

Exhibit 18   Exhibit 18 is a letter       If relief is not granted,   A redacted, public ver-                         No objection
to letter    from J&J’s counsel to        SaveOn would be at a        sion of the Letter is be-
dated        SaveOn’s counsel which       competitive disadvantage    ing filed. It is believed
August 12,   describes and quotes         should its proprietary      that no less restrictive al-
2024 [ECF    from SaveOn documents        non-public business in-     ternative is available to
No. 350      that discuss SaveOn’s        formation and strategy      prevent the disclosure of
             marketing strategies, call   be disclosed to competi-    SaveOn’s proprietary
             center technology, a         tors and other market       business information.
             client identity, staffing    participants.
             needs and internal
             organization.
Exhibit 19   Exhibit 19 is a letter       If relief is not granted,   A redacted, public ver-                         No objection
to letter    from SaveOn’s counsel        SaveOn would be at a        sion of the Letter is be-
dated        to J&J’s counsel which       competitive disadvantage    ing filed. It is believed
August 12,   describes and quotes         should its proprietary      that no less restrictive al-
2024 [ECF    from SaveOn documents        non-public business in-     ternative is available to
No. 350      that include drafts          formation and strategy      prevent the disclosure of
             regarding the explanation    be disclosed to competi-    SaveOn’s proprietary
             of SaveOn’s services and     tors and other market       business information.
             provides personal details    participants.
             about SaveOn personnel.
Exhibit 20   Exhibit 20 is a letter       If relief is not granted,   A redacted, public ver-                         No objection
to letter    from SaveOn’s counsel        SaveOn would be at a        sion of the Letter is be-
dated        to J&J’s counsel which       competitive disadvantage    ing filed. It is believed
August 12,   describes SaveOn             should its proprietary      that no less restrictive al-
             documents and provides                                   ternative is available to

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2024 [ECF    personal details about      non-public business in-     prevent the disclosure of
No. 350      SaveOn personnel.           formation and strategy      SaveOn’s proprietary
                                         be disclosed to competi-    business information.
                                         tors and other market
                                         participants.

Letter       Letter opposition           If relief is not granted,   A redacted, public ver-          No.            No objection
dated        contains descriptions of    SaveOn would be at a        sion of the Letter is be-
August 22,   SaveOn documents that       competitive disadvantage    ing filed. It is believed
2024 [ECF    include presentations       should its proprietary      that no less restrictive al-
No. 354]     about SaveOn’s              non-public business in-     ternative is available to
             operations and details of   formation and strategy      prevent the disclosure of
             SaveOn’s                    be disclosed to competi-    SaveOn’s proprietary
             correspondence with a       tors and other market       business information.
             manufacturer.               participants.

Exhibit 2    Exhibit 2 is a contract     If relief is not granted,   It is believed that no less                     No objection
to letter    between ESI and SaveOn      SaveOn would be at a        restrictive alternative is
dated        describing in detail the    competitive disadvantage    available to prevent the
August 22,   partnership between the     should its proprietary      disclosure of SaveOn’s
2024 [ECF    two entities.               non-public business in-     proprietary business in-
No. 354]                                 formation and strategy      formation.
                                         be disclosed to competi-
                                         tors and other market
                                         participants.

Exhibit 5    Exhibit 5 is an email       If relief is not granted,   It is believed that no less                     No objection
to letter    from SaveOn’s founder       SaveOn would be at a        restrictive alternative is
dated        and an accompanying         competitive disadvantage    available to prevent the
August 22,   PowerPoint describing       should its proprietary      disclosure of SaveOn’s
2024 [ECF    SaveOn’s services.          non-public business in-     proprietary business in-
No. 354]                                 formation and strategy      formation.


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                                     be disclosed to competi-
                                     tors and other market
                                     participants.

Exhibit 6    Exhibit 6 is an email   If relief is not granted,   It is believed that no less                    No objection
to letter    from SaveOn’s founder   SaveOn would be at a        restrictive alternative is
dated        discussing SaveOn’s     competitive disadvantage    available to prevent the
August 22,   operations.             should its proprietary      disclosure of SaveOn’s
2024 [ECF                            non-public business in-     proprietary business in-
No. 354]                             formation and strategy      formation.
                                     be disclosed to competi-
                                     tors and other market
                                     participants.




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